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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION



 ANNA SIMMONS,

        Plaintiff,

 v.                                                CASE NO.: 3:18-cv-00609-TJC-JBT


 AMSHER COLLECTION SERVICES, INC.,

        Defendant.

_____________________________________________________________________________

                           NOTICE OF PENDING SETTLEMENT


       Plaintiff, ANNA SIMMONS, by and through her undersigned counsel, hereby submits this

Notice of Settlement and states that Plaintiff, ANNA SIMMONS, and Defendant, AMSHER

COLLECTION SERVICES, INC., have reached a settlement with regard to this case and are

presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of same, the parties will file the appropriate dismissal documents with the Court.



                                               /s/Amanda J. Allen, Esq.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on July 17, 2018, the foregoing was served using the CM/ECF

system, which will provide electronic notice of filing to all counsel of record.



                                                  /s/Amanda J. Allen, Esq.
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